                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No. 21-cv-02160-CNS-SKC

ESTATE OF SERAFIN FINN, by and through its personal representative Melissa R. Schwartz,

        Plaintiff,

v.

CITY AND COUNTY OF DENVER, a municipality,
DEPUTY JASON GENTEMPO, in his individual capacity,

        Defendants.


     DEFENDANT GENTEMPO’S REPLY IN SUPPORT OF MOTION FOR SUMMARY
                             JUDGMENT


        Defendant, JASON GENTEMPO (“Defendant Gentempo”), by his attorneys, ERIC M.

ZIPORIN and TIFFANY E. TOOMEY of the law firm SGR, LLC, hereby files his Reply in

Support of Summary Judgment (“Reply”) to Plaintiff’s Response to Defendant Gentempo’s

Motion for Summary Judgment [Doc. 93] (“Response”) as follows:

                                        I.     INTRODUCTION

        The Response fails to admit to facts and arguments that should have been admitted. Instead,

given that Mr. Finn is now deceased, the Response almost exclusively relies on legal counsel’s

inferences and characterizations of the videos in an attempt to create disputes of material facts. As

demonstrated below, Plaintiff has not met its burden of showing there is a genuine issue for trial

as to two key facts: (1) that Finn continuously spit before a spit hood was applied; and (2) that

Finn sustained any injury.
                II.     RESPONSE CONCERNING DISPUTED FACTS (“RCDF”) 1

       This Reply addresses only those facts that Plaintiff has denied or challenged.

       9-10. Plaintiff references two surveillance videos from inside the hallway of Denver

Health Medical Center (“DHMC”). However, these videos only show Finn after already exiting

the hospital room and do not show Finn inside of his hospital room during the rattling of his leg

irons and handcuff restraints, the removal of his handcuffs from the gurney, re-cuffing him, or

sitting him down in the wheelchair. [Response, Exhibits 2-3]. Plaintiff’s denials must be supported

by a specific reference to the record. [Civ. Practice Standard 7.1D(b)(4)]. As Plaintiff’s citations

do not support the facts it has alleged, these facts remain undisputed.

       11.     Admit that Exhibit 2 to the Response appears to show another individual throwing

a blanket to Finn. Plaintiff makes no attempt at disputing the reasons why Defendant Gentempo

placed Finn in a wheelchair.

       14.      Plaintiff does not cite to any evidence supporting Finn not being highly agitated,

yelling, or screaming, as the surveillance video does not contain any sound. The sworn statements

of the deputies confirm that these facts remain undisputed.

       17.     Plaintiff relies on surveillance video alone which either does not clearly depict the

facts argued by Plaintiff given the distance and quality of the camera 2, or does not show the facts



1
  In consideration of the 10-page limit for this Reply per Civ. Practice Standard 10.1(c)(2),
Defendant Gentempo groups paragraphs together in order to respond, given Plaintiff has included
11 pages of facts. To the extent any facts or arguments are not addressed herein, Defendant
Gentempo takes the position the Court can evaluate them on the basis of the Motion for Summary
Judgment alone.
2
  Where video is unclear, inferences drawn from the video do not create a dispute. Palacios v.
Fortuna, 61 F.4th 1248, 1262 (10th Cir. 2023) (“Plaintiff's argument that Mr. Harmening's
declaration shows there are different factual inferences to be drawn from the videos, thus there are


                                                 2
at all. [Motion, Exhibit I]. Plaintiff cannot dispute that Deputy Gentempo closed the distance by

moving toward Finn, given the video shows Deputy Gentempo moving toward Finn. [Response,

Exhibit 4 at 0:0:34]; [Motion, Exhibit I at 0:00:18]. Plaintiff admits the strike is obstructed by

Deputy Siwakoti. Defendant Gentempo admits that Finn’s head moves to his right after the strike

but denies this indicates he was struck rather than moved his head out of the way, especially

considering the lack of injury. [Response, Exhibit 4 at 0:0:34]; [Motion, Exhibit N ¶¶ 3-9].

       18.     Plaintiff again relies solely on the surveillance video which does not support the

facts as argued by Plaintiff. Plaintiff further argues events occurring out of sequence. Plaintiff

argues that it would have been physically impossible to spit on Deputy Gentempo again – basing

that on the claim that Finn could not have spit a second time after the blanket was over his face.

However, the undisputed facts from both the videos and sworn testimony of the deputies establish

that Finn spit three times before Defendant Gentempo covered Finn’s face with either his hands

or the blanket. [Motion, ¶ 17, 18, and 22]. Plaintiff cannot dispute that the purpose of Defendant

Gentempo’s force was to prevent further spitting rather than to cause him pain. The referenced

testimony Plaintiff offers in support makes no mention of causing Finn pain. These facts remain

undisputed.

       19.     Plaintiff again relies solely on the surveillance video which does not support the

facts which allegedly create a dispute. Plaintiff cannot dispute which motion Defendant Gentempo

made given he admits it is obstructed by Deputy Siwakoti. [Response, ¶ 17]. Plaintiff cannot

dispute that Defendant Gentempo believed he took a different action that he later learned upon




material disputed facts, is misplaced.”); Id. (“The universe of undisputed facts to consider on
summary judgment excludes characterizations of facts and legal arguments.”)


                                                3
watching the video and cites to no evidence of the same. These facts remain undisputed.

       20.     Expert testimony is not required to assert that spit can transfer dangerous diseases.

Plaintiff does not deny DSD’s policy allows strikes in response to an assault and that spitting is an

assault. These facts remain undisputed.

       21.     Plaintiff does not reference any evidence disputing Defendant Gentempo’s

assertion given his belief was based on Finn lacking injury rather than his memory of it. [Motion,

¶ 21]. There are no records connecting Finn’s small bruise to his contact with Deputy Gentempo

as opposed to his falling head-first into the ground. These facts remain undisputed.

       22.     Plaintiff again relies solely on the surveillance video which is unclear as to the

facts alleged. Indeed, the video shows Defendant Gentempo using two hands, given Defendant

Gentempo’s right hand is seen on Finn as the wheelchair tumbles over, rather than a “powerful left

hook”. [Motion, Exhibit I at 0:0:22]. These facts remain undisputed.

       23.      Plaintiff again relies solely on the surveillance video which is unclear as to the

facts alleged. In fact, the referenced video shows the wheelchair accidentally toppled over, as the

deputies struggle to keep it upright for five seconds. [Motion, Exhibit I at 00:00:18-0:00:23].

These facts remain undisputed.

       24.     Plaintiff again alleges events occurring out of sequence. Deputy Gentempo placed

Finn in a mandibular pressure after Finn continued to spit and after he told Finn repeatedly to stop

spitting. [Motion, ¶ 25]. These facts remain undisputed.

       30.     Plaintiff again relies solely on the surveillance video which is unclear as to the facts

alleged. There is no evidence supporting the argument that Finn refused to walk because he was

injured. These facts remain undisputed.



                                                  4
        32.         This paragraph remains undisputed as Plaintiff admits Deputy Gentempo received

some level of treatment and was informed Finn had Hepatitis C. Plaintiff cannot dispute that

Deputy Gentempo felt fortunate not to have contracted Hepatitis C. These facts are undisputed.

        34.         Plaintiff does not reference any evidence disputing Finn did not land on the right

side of his head. Plaintiff instead provides legal argument and references Exhibit S to the Motion,

which clearly shows Plaintiff diving head-first into the ground during his fall, with his head making

contact with the ground before his body. This fact remains undisputed.

        36-38.             Plaintiff incorrectly states Finn’s statement to Nurse Lindsey. Instead, Finn

told nurse Lindsey that he had “lumps all over his head a result of being punched by a deputy.”

[Motion, Exhibit N, ¶ 3]. Nurse Lindsey discovered this to be untrue, as she examined Finn and

found no lumps. [Exhibit N, ¶ 4]. The video is unclear and Plaintiff admits it does not show

Defendant Gentempo making contact with Finn’s head given it is obstructed by Deputy Siwakoti.

[Response, ¶ 17]. These facts are undisputed. [Motion, Exhibit N, ¶¶ 3-9].

             III.     RESPONSE TO STATEMENT OF ADDITIONAL DISPUTED FACTS
                                          (“RSADF”)

        1.          Admit. As stated in Defendant Gentempo’s Motion, the purpose of the control

was to prevent further spitting. [Motion, MSUMF, ¶ 25].

        2.          Admit, though a restrained inmate can still pose a threat. [Response, Exhibit 7,

105:5-7 (“Q. Does he pose less of a threat while he is handcuffed and wearing leg-irons? A.

No”).

        3.          Admit but immaterial.

        4.          Admit this paragraph accurately describes the testimony of Rose Ceja. Deny Ms.

Ceja’s testimony creates a dispute of material fact as to “whether his force was reasonable and


                                                     5
necessary” as this is improper lay witness testimony and not a fact. The opinion of the supervisor

is immaterial.

       5.        Admit this paragraph accurately describes the referenced testimony. Deny it is

material given that even if Defendant Gentempo struck Finn to prevent being further spit on, such

would not violate the Fourteenth Amendment.

       6.        Defendant Gentempo denies his testimony is accurately reflected. In fact, he

testified to the opposite. [Response, Exhibit 1, 198:2-15 (“That was the minimum amount that I

could have used.”)]. Defendant Gentempo denies that determining which level of force is

appropriate is a fact rather than a legal conclusion.

                                           IV.     ARGUMENT

       A.        DIFFERENT STANDARDS FOR FOURTH                         AND     FOURTEENTH
                 AMENDMENT EXCESSIVE FORCE CLAIMS.

       Plaintiff argues it should be permitted to proceed under the Fourteenth Amendment

because the same standard applies to Fourth and Fourteenth Amendment excessive force claims.

[Response, p. 11-13].

       Extensive legal precedent supports these standards are not the same and require a weighing

of different factors. Compare Graham v. Connor, 490 U.S. 386, 396, (1989) (outlining Graham

factors applicable to Fourth Amendment claims) with Williams v. Carbajol, No. 20-CV-02119-

NYW, 2021 WL 5579114, at *10 (D. Colo. Nov. 30, 2021) (outlining factors applicable to

Fourteenth Amendment claims). As discussed below, the facts required to support these factors

are not contained within the record.

       B.        DEFENDANT GENTEMPO IS ENTITLED TO QUALIFIED IMMUNITY.

       a.        No Fourteenth Amendment Violation.


                                                  6
       Plaintiff argues Defendant Gentempo is not entitled to qualified immunity. In doing so,

Plaintiff incorrectly argues Defendant Gentempo has argued the wrong legal standard. Williams,

2021 WL 5579114, at *10 (D. Colo. Nov. 30, 2021) (“In analyzing excessive force claims under

the Fourteenth Amendment, courts consider: “(1) the relationship between the amount of force

used and the need presented; (2) the extent of the injury inflicted; and (3) the motives of the state

actor.”’) [Motion, pp. 12-18 (arguing relationship between force used and need presented, extent

of injury, and motive)]. As Plaintiff points out, many cases have also applied the Kingsley factors.

[Response, p. 13].

               1.      Efforts Made to Temper Force.

       Both sets of factors weigh in favor of Deputy Gentempo as the only difference in these

factors is the third factor: efforts made to temper force. Plaintiff’s argument that Deputy Gentempo

could have used an open palm gesture to control Finn while someone else retrieved the spit sock

was not an option given it was unsafe to leave the other deputy with Finn and given they were

trained precisely not to do so. [Response, ¶ 29]. It is undisputed that Deputy Gentempo and Deputy

Siwakoti made multiple, unsuccessful attempts to deescalate Finn and temper force necessary.

[Response, ¶¶ 1-7]. Regardless, Defendant Gentempo was not required to choose the best option,

but only an option not grossly disproportionate to the need presented. Niemyjski v. City of

Albuquerque, 379 F. Supp. 2d 1221, 1230 (D.N.M. 2005).

               2.      Relationship Between Force Used and Need Presented.

       The first factor is the same: relationship between the need for the use of force and the force

used. Of the cases referenced by Plaintiff, only three discuss force used in response to spitting;

Bonner-Turner v. City of Ecorse; Shumate v. Cleveland; and Isgett v. Boone. [Response pp. 17-



                                                 7
18]. Isgett is distinguishable from the instant case given that rather than sustaining little to no

injury, the plaintiff was placed in a restraint chair and punched three times resulting in a fractured

jaw. [RCDF, ¶ 35]; Isgett v. Boone, No. CA 8:11-02783-CMC, 2013 WL 773070, at *3 (D.S.C.

Feb. 28, 2013). In Shumate v. Cleveland, an officer could not explain why it was necessary to

punch the plaintiff in the face before closing the car door after the plaintiff sprayed some saliva

onto the officer while talking. Shumate v. Cleveland, 483 F. App’x 112, 114 (6th Cir. 2012). This

is distinguished from the instant case given Deputy Gentempo explained the purpose of his force

was to prevent further spitting. [RSADF, ¶ 1]; [Motion, ¶ 17]. Though Bonner-Turner v. City of

Ecorse does hold a face-first shove into a wall is unreasonable force in response to a handcuffed

inmate who spit on the officer, this is a Sixth Circuit case. Bonner-Turner v. City of Ecorse, 627

F. App’x 400, 412 (6th Cir. 2015). The Tenth Circuit does not recognize a blanket rule that force

cannot be used on a restrained individual. Piedra v. True, 169 F. Supp. 2d 1239, 1243 (D. Kan.

2001), aff’d, 52 F. App’x 439 (10th Cir. 2002). Further, other jurisdictions have held force can be

used on a spitting, restrained individual. Prymer v. Ogden, 29 F.3d 1208, 1211 (7th Cir. 1994)

(finding straight-arm stun technique to redirect Mr. Prymer's head reasonable even though Mr.

Prymer was in handcuffs); Barnes v. Alves, 58 F. Supp. 3d 296, 311 (W.D.N.Y. 2014) (it was

reasonable for deputies to take a handcuffed inmate to the floor who had spit in a deputy’s face

and swung his handcuffs near his face).

       Plaintiff cannot dispute that Finn continuously spit on Defendant Gentempo and points to

no evidence this did not occur. [RCDF, ¶ 17-19]; [Response 15-16]. Plaintiff cannot dispute

Defendant Gentempo accidentally knocked over the wheelchair. [RCDF, ¶ 23]. Plaintiff cannot

dispute Defendant Gentempo merely either struck or attempted to strike, covered Finn’s face, and



                                                  8
used a mandibular pressure point hold to prevent Finn from continuously spitting. [RCDF, ¶ 17-

19 and 22].

               3.      Extent of Injury.

       The second factor is also the same: the extent of the injury inflicted. Plaintiff cannot dispute

that Finn’s one small bruise and two even smaller abrasions cannot be attributed to Deputy

Gentempo’s contact with Finn. [RCDF, ¶¶ 36-38]. There is no evidence within the record

attributing these minor injuries to Defendant Gentempo. [RCDF, ¶¶ 17-19 and 22]. Given all of

these injuries were minor and less than a dime in size, this factor weighs in favor of Defendant

Gentempo. [Motion, Exhibit N, ¶¶ 4-7]. Plaintiff references two cases in support of its assertion

that the second factor should weigh in favor of Finn – Alexander v. City of Round Rock and Jackson

v. Stubenvoll. [Response pp. 17-18]. These cases do not stand for the proposition that minimal

force means this factor weighs in favor of the plaintiff. Rather, these cases provide that the factors

altogether may still weigh in favor of the plaintiff, despite minimal injury 3. Alexander v. City of

Round Rock, 854 F.3d 298, 309 (5th Cir. 2017); Jackson v. Stubenvoll, No. 16-CV-05746, 2022

WL 991950, at *4 (N.D. Ill. Mar. 31, 2022). Defendant Gentempo notes that the Jackson court

granted summary judgment for the officer where “Jackson has not produced sufficient evidence

demonstrating Stubenvoll’s force was excessive” where Stubenvoll was alleged to shove Jackson

twice, kick him in the groin, and spin him around in response to Jackson “verbal[ly assaulting”

him. Jackson, 2022 WL 991950, at *4.



3
  Colburno v. Kessler involves chaining a naked pretrial detainee to a hospital bed and thus
humiliation was sufficient to allege an injury. Colbruno v. Kessler, 928 F.3d 1155, 1164 (10th Cir.
2019). There are no facts indicating Finn was subjected to such humiliation in the instant case and
thus Colbruno v. Kessler is inapplicable.


                                                  9
               4.      Officer Safety is a Legitimate Government Interest.

       Plaintiff cannot dispute that Defendant Gentempo’s force was to prevent the threat of

further spitting rather than punitive. [RCDF, ¶ 17]. Instead, Defendant Gentempo testified the

point of his contact was to “stop the threat, and the threat was him spitting on me again.” [Motion,

¶ 17]. It is indisputable that dangerous diseases can be transmitted via saliva [RCDF, ¶ 20].

Accordingly, legal precedent establishes that an officer is entitled to defend himself in the same

manner as Defendant Gentempo to prevent from being further spit on as officer safety is a

legitimate government interest. [Motion, pp. 12-17]; United States v. Windom, 863 F.3d 1322,

1329 (10th Cir. 2017) (“[t]he safety of law enforcement is a legitimate and weighty concern”)

(citations and quotations omitted).

       b.      No Clearly Established Law.

       Plaintiff incorrectly alleges the level of specificity required as to whether Defendant

Gentempo should have been on notice that his actions violated the Fourteenth Amendment.

[Response pp. 19 (arguing cases need not be factually identical)]. While cases need not be factually

identical, they do need to be analogous. If the circumstances are not analogous, only in the “rare

obvious case” will an officer’s unlawful actions be sufficient. City of Escondido, v. Emmons, 139

S. Ct. 500, 504 (2019). Given the many cases that allow an officer to use the type of force used by

Defendant Gentempo to prevent himself from being further assaulted, the greater weight of

authority from other circuit courts indicates it is not obvious that Defendant Gentempo was

violating Plaintiff’s Fourteenth Amendment rights. [Motion, pp. 12-18].

       As Plaintiff has not met either prong in the two-step qualified immunity analysis, the Court

should grant summary judgment as to the claims against Defendant Gentempo.



                                                10
 Respectfully submitted,


 s/ Eric M. Ziporin
Eric M. Ziporin
SGR, LLC
3900 E. Mexico Ave., Suite 700
Denver, CO 80210
Telephone: (303) 320-0509
E-mail: eziporin@sgrllc.com


 s/ Tiffany E. Toomey
Tiffany E. Toomey
SGR, LLC
3900 E. Mexico Ave., Suite 700
Denver, CO 80210
Telephone: (303) 320-0509
E-mail: ttoomey@sgrllc.com

 Counsel for Defendant Deputy Gentempo




11
                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 7th day of July, 2023, I electronically filed a true and
correct copy of the above and foregoing DEFENDANT GENTEMPO’S REPLY IN SUPPORT
OF MOTION FOR SUMMARY JUDGMENT with the Clerk of Court using the CM/ECF
system which will send notification of such filing to the following email addresses:

       Matthew Cron
       Omeed Azmoudeh
       mc@rmlawyers.com
       oa@rmlawyers.com
       Counsel for Plaintiff

       Benjamin Hartford
       ben@bhartfordlaw.com
       Counsel for Plaintiff

       Jonathan Cooper
       Jonathan.Cooper@denvergov.org
       Counsel for Defendant City and County of Denver



                                              s/ Tiffany E. Toomey
                                              Attorney




                                             12
